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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

ERIK SILGUERO,                                           )
                                                         )
                Plaintiff,                               )
                                                         )
        vs.                                              )     Case No. 3:18-cv-00628
                                                         )
ONEMAIN FINANCIAL GROUP, LLC,                            )
                                                         )
                Defendant.                               )

                                           COMPLAINT

        NOW COMES Plaintiff, ERIK SILGUERO (“Plaintiff”), by his attorneys, and hereby

alleges the following against ONEMAIN FINANCIAL GROUP, LLC, (“Defendant”):

                                        Nature of the Action

        1.      Plaintiff’s Complaint arises under the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227 et seq.

                                      Jurisdiction and Venue

        2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 47

U.S.C. § 227.

        3.      Venue is proper pursuant to 28 U.S.C. 1391(b)(1) as the conduct giving rise to

this action occurred in this district, as Plaintiff resides in this district and Defendant transacts

business in this district.

                                               Parties

        4.      Plaintiff is a natural person residing in Granger, St. Joseph County, Indiana.

        5.      Defendant is a national company with a main business office in Williamsburg,

Virginia.
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         6.    Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers

                                         Factual Allegations

         7.    Defendant has been placing calls to telephone number (574) 250-19XX.

         8.    Telephone number (574) 250-19XX has been assigned to Plaintiff’s cellular

telephone.

         9.    These telephone calls are not for emergency purposes.

         10.   These telephone calls are related to a financial account.

         11.   The financial account was used for personal, family, and/or household purposes

         12.   Upon information and good faith belief, and in light of the frequency, number,

nature, and character of these calls, Defendant used an automatic telephone dialing system to call

Plaintiff’s cell phone.

         13.   On or about December 20, 2017, Plaintiff spoke with one of Defendant’s

employees.

         14.   Plaintiff instructed Defendant’s employee to stop calling his cell phone.

         15.   Defendant continued to use an automatic telephone dialing system to call

Plaintiff’s cell phone after December 20, 2017.

         16.   Plaintiff estimates that since December 20, 2017, Defendant called his cell phone

at least one hundred sixty-two (162) times.

         17.   Defendant did not have Plaintiff’s express consent to use an automatic telephone

dialing system to place these calls.

         18.   Defendant intended to use an automatic telephone dialing system to place these

calls.




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         19.    Defendant knew that it did not have Plaintiff’s express consent to use an

automatic telephone dialing system to place these calls.

         20. Defendant voluntarily used an automatic telephone dialing system to call Plaintiff’s

cell phone.

         21. Defendant knowingly used an automatic telephone dialing system to call Plaintiff’s

cell phone.

         22. Defendant willfully used an automatic telephone dialing system to call Plaintiff’s cell

phone.

         23.    Plaintiff felt annoyed and harassed by Defendant’s calls.

                                            COUNT I
               Defendant Violated the Telephone Consumer Protections Act (TCPA)

         24.    Defendant’s actions alleged supra constitute numerous violations of the TCPA,

entitling Plaintiff to an award of $500.00 in statutory damages for each and every violation

pursuant to 47 U.S.C. § 227(b)(3)(B).

         25.    Defendant’s actions alleged supra constitute numerous and multiple knowing

and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

         WHEREFORE, Plaintiff prays that judgment be entered against the Defendant for the

following:

      26.       Statutory damages of $500.00 for each and every violation of the TCPA pursuant

to 47 U.S.C. § (b)(3)(B);

      27.       Statutory damages of $1500.00 for each and every knowing and/or willful

violation of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);



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      28.    All court costs, witness fees and other fees incurred; and

      29.    Any other relief that this Honorable Court deems appropriate.



                                                   Respectfully submitted,

Dated: August 20, 2018                             /s/ Adam T. Hill
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